        Case 5:20-cv-01087-SMH-MLH Document 2 Filed 08/24/20 Page 1 of 5 PageID #: 14

 AO 440 (Rev. 06/12) Summons in a Civil Action


                                 UNITED STATES DISTRICT COURT
                                 WESTERN DISTRICT OF LOUISIANA
                                     SHREVEPORT DIVISION



                          USA             )
                          Plaintiff       )
                        v.                ) Civil Action No. 5:20−CV−01087−SMH−MLH
                                          ) Chief Judge S Maurice Hicks, Jr
             WENDI L LABORDE , et al.     )
                     Defendant            )
                               SUMMONS IN A CIVIL ACTION

To:
CCLCA Trust




        A lawsuit has been filed against you.

        Within 21 days after service of this summons on you (not counting the day you received it) − or 60 days if
you are the United States or a United States agency, or an officer or employee of the United States described in
Fed. R. Civ. P. 12 (a)(2) or (3) − you must serve on the plaintiff an answer to the attached complaint or a motion
under Rule 12 of the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or
plaintiff's attorney, whose name and address are:
                                        Shannon Thornhill Brown
                                        U S Attorneys Office (SHV)
                                        300 Fannin St Ste 3201
                                        Shreveport, LA 71101−3068

      If you fail to do so, judgment by default will be entered against you for the relief demanded in the
complaint. You also must file your answer or motion with the court.




                                                                                    CLERK OF COURT

Date:    8/24/2020                                                                 /s/ − Tony R. Moore
      Case 5:20-cv-01087-SMH-MLH Document 2 Filed 08/24/20 Page 2 of 5 PageID #: 15

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

                                                 5:20−CV−01087−SMH−MLH
                                              PROOF OF SERVICE
             (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

This summons for CCLCA Trust was received by me on (date)______________________________.


           • I personally served the summons on CCLCA Trust at (place)__________________________
             ____________________________________ on (date)_______________________; or

           • I left the summons at the individual's residence or usual place of abode with (name) _____________
             ___________________________ , a person of suitable age and discretion who resides there, on (date)
             _________________ , and mailed a copy to the individual's last known address; or

           • I served the summons on (name of individual) ______________________, who is designated by law
             to accept service of process on behalf of (name of organization) _____________________
             ________________________________________ on (date) _____________________; or

           • I returned the summons unexecuted because _____________________
             ________________________________________; or

           • Other (specify):

    My fees are $ __________ for travel and $ _________ for services, for a total of $ ______________ .

    I declare under penalty of perjury that this information is true.




         Date: _______________________                                  ______________________________
                                                                                 Server's signature

                                                                        ______________________________
                                                                               Printed name and title



                                                                        ______________________________
                                                                                 Server's address
          Case 5:20-cv-01087-SMH-MLH Document 2 Filed 08/24/20 Page 3 of 5 PageID #: 16


Additional information regarding attemped service, etc:
     AO 440 (Rev. 06/12) Summons in a Civil Action


                                     UNITED STATES DISTRICT COURT
                                     WESTERN DISTRICT OF LOUISIANA
                                         SHREVEPORT DIVISION



                              USA            )
                              Plaintiff      )
                           v.                ) Civil Action No. 5:20−CV−01087−SMH−MLH
                                             ) Chief Judge S Maurice Hicks, Jr
                WENDI L LABORDE , et al.     )
                        Defendant            )
                                  SUMMONS IN A CIVIL ACTION

   To:
   Wendi L LaBorde




           A lawsuit has been filed against you.

           Within 21 days after service of this summons on you (not counting the day you received it) − or 60 days if
   you are the United States or a United States agency, or an officer or employee of the United States described in
   Fed. R. Civ. P. 12 (a)(2) or (3) − you must serve on the plaintiff an answer to the attached complaint or a motion
   under Rule 12 of the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or
   plaintiff's attorney, whose name and address are:
                                            Shannon Thornhill Brown
                                            U S Attorneys Office (SHV)
                                            300 Fannin St Ste 3201
                                            Shreveport, LA 71101−3068

         If you fail to do so, judgment by default will be entered against you for the relief demanded in the
   complaint. You also must file your answer or motion with the court.




                                                                                       CLERK OF COURT

  Date:    8/24/2020                                                                  /s/ − Tony R. Moore
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AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

                                                 5:20−CV−01087−SMH−MLH
                                              PROOF OF SERVICE
             (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

This summons for Wendi L LaBorde was received by me on (date)______________________________.


           • I personally served the summons on Wendi L LaBorde at (place)__________________________
             ____________________________________ on (date)_______________________; or

           • I left the summons at the individual's residence or usual place of abode with (name) _____________
             ___________________________ , a person of suitable age and discretion who resides there, on (date)
             _________________ , and mailed a copy to the individual's last known address; or

           • I served the summons on (name of individual) ______________________, who is designated by law
             to accept service of process on behalf of (name of organization) _____________________
             ________________________________________ on (date) _____________________; or

           • I returned the summons unexecuted because _____________________
             ________________________________________; or

           • Other (specify):

    My fees are $ __________ for travel and $ _________ for services, for a total of $ ______________ .

    I declare under penalty of perjury that this information is true.




         Date: _______________________                                  ______________________________
                                                                                 Server's signature

                                                                        ______________________________
                                                                               Printed name and title



                                                                        ______________________________
                                                                                 Server's address
         Case 5:20-cv-01087-SMH-MLH Document 2 Filed 08/24/20 Page 5 of 5 PageID #: 18


Additional information regarding attemped service, etc:
